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             EXHIBIT 1
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    MDL Case Name           Current Cause #
    Aabbott, Douglas         3:19-cv-06267
       Abbott, Lisa          3:19-cv-05240
    Abedeljalil, Faisal      3:18-cv-02332
     Abila, Jennifer         3:16-cv-06008
     Abreu, Rob O.           3:19-cv-06022
   Ackerman, Sharon          3:19-cv-06958
     Acosta, Brenda          3:19-cv-05057
  Acosta, Brenda, et al.     3:18-cv-01960
   Adams, Kendall M.         3:19-cv-02364
    Adams, Michael           3:18-cv-03625
     Adlman, Susan           3:19-cv-06734
   Afanador, George          3:20-cv-01229
      Ahrent, Vicki          3:18-cv-00065
     Alaniz, Ricardo         3:18-cv-03559
    Alexander, Linda         3:18-cv-05240
      Alexy, Dwight          3:19-cv-00956
     Allen, Huey P.          3:20-cv-01547
   Allison, Ronald A.        3:20-cv-00208
    Anderson, Brian          3:19-cv-05059
 Anderson, Jacklyn Lee       3:20-cv-00848
   Anderson, Michael         3:19-cv-06092
  Anderson, Raymond          3:19-cv-08034
   Anderson, Teresea         3:19-cv-04924
Anderson-Cahill, Dorothy     3:19-cv-06872
 Andrade, Jaime, et al.      3:19-cv-01019
  Andrzejczak, Andrew        3:20-cv-02424
   Angel, Albert, et al.     3:17-cv-05547
 Angeleri, Joseph Martin     3:20-cv-07393
      Anstett, Terry         3:19-cv-06949
    Applegate, Trina         3:20-cv-00419
   Archambault, Gary         3:19-cv-06017
      Arms, Robert           3:20-cv-00200
   Armstrong, Marvin         3:19-cv-04481
 Arsondi, William, et al.    3:20-cv-03597
      Arven, Mary            3:19-cv-04925
      Arvidson, Leif         3:19-cv-05061
    Asbey, Deborah           3:19-cv-07891
      Ashley, Helen          3:19-cv-04408
 Ashton, Brenda, et al.      3:18-cv-03959
      Ataide, Craig          3:19-cv-06145
 Auten, Marisol Del-Sol      3:19-cv-05374
      Avery, Peggy           3:19-cv-06182
Axelson, Maynard Russell     3:19-cv-06400
     Ayon, Ceceilia          3:19-cv-01240
Babcock, William Howard      3:19-cv-07209
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  MDL Case Name          Current Cause #
     Bahl, Donald         3:19-cv-03392
    Bailey, Gloria        3:19-cv-04473
     Bailey, John         3:17-cv-06299
Bailey, Timothy Edward    3:19-cv-06266
  Baird, Nikki Diane      3:19-cv-06032
  Balaci, Alexandre       3:19-cv-06751
   Balcom, Nancy          3:19-cv-04854
   Baldree, Seliane       3:19-cv-08113
    Ballard, Hubert       3:18-cv-01108
    Ballow, Drew          3:19-cv-04926
 Banks, Helen Grace       3:19-cv-08003
   Barbour, William       3:18-cv-07321
   Bare, Elizabeth        3:17-cv-05479
    Bare, Howard          3:19-cv-04866
Barker, Kenneth & Kari    3:19-cv-04845
  Barnard, Barbara        3:19-cv-04997
   Barnard, Sarah         3:19-cv-04927
   Barnard, Shane         3:20-cv-01309
    Barnes, David         3:19-cv-07983
   Barnes, Joseph         3:19-cv-07884
   Barnes, Robert         3:19-cv-01185
    Barnett, Gary         3:19-cv-04928
      Barr, John          3:19-cv-04454
   Barry, Kaye Ann        3:20-cv-01230
 Bartley, Donald Jerry    3:19-cv-07107
   Bartley, Michael       3:19-cv-04512
 Bassett, Douglas Lee     3:20-cv-02632
   Batson, Richard        3:19-cv-07102
   Battles, Jaunita       3:19-cv-00900
    Baum, Jeffrey         3:19-cv-06018
   Baxter, Marquita       3:18-cv-01697
   Bayless, Nathan        3:19-cv-01364
     Bazert, Bert         3:18-cv-02938
   Beacham, Petro         3:19-cv-05247
Beaudet, David, et al.    3:17-cv-06902
     Beck, John           3:19-cv-06960
    Becker, Bruce         3:19-cv-04387
  Beddington, Kenny       3:19-cv-05062
  Bederow, Marilyn        3:20-cv-02973
   Bellinger, Robert      3:19-cv-06062
    Belsey, Robert        3:19-cv-04666
  Benavidez, Ramon        3:19-cv-04931
Bender, Jeffrey Andrew    3:20-cv-01916
 Benzel, Thomas Jay       3:19-cv-03462
   Berberian, Angie       3:19-cv-04831
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     MDL Case Name               Current Cause #
  Berlin, Anthony, et al.         3:18-cv-00815
     Bern, Arlan, et al.          3:19-cv-05887
      Berthelot, Kent             3:19-cv-01186
       Betance, Lily              3:20-cv-05866
     Beverly, Stanley             3:19-cv-07457
      Beyeler, Vet C.             3:19-cv-04659
      Beyer, John R.              3:20-cv-05113
       Bichler, John              3:19-cv-04452
     Bickerton, Lesley            3:19-cv-06033
       Bickford, Curt             3:19-cv-01559
    Billings, Joseph D.           3:19-cv-02578
  Billingsley, Sue, et al.        3:18-cv-05309
     Bingham, Oscar               3:19-cv-00927
      Binkley, Danny              3:19-cv-05064
   Binneboese, Harold             3:19-cv-04471
       Birch, Robert              3:19-cv-06294
     Bishelli, Charlotte          3:19-cv-06095
Bittinger, Jr., Donald, et al.    3:19-cv-03566
      (3:19-cv-03566)
       Bizal, Barbara             3:18-cv-06545
      Bjorklund, Dale             3:19-cv-04123
    Bjorklund, Keith G.           3:19-cv-04681
  Blackwood, Sherry M.            3:19-cv-07863
    Blakeman, Mark K.             3:19-cv-06748
 Blakeney, Christie Petty         3:19-cv-07929
      Blevins, Donald             3:19-cv-06746
       Blyth, Clinton             3:19-cv-05651
       Bodin, Ian M.              3:19-cv-04010
     Boelter, Norman              3:18-cv-05310
     Bolden, Earnest              3:18-cv-04785
      Bone, Maurice               3:18-cv-01517
      Bonham, Jerry               3:18-cv-04794
    Bonner, Ann, et al.           3:19-cv-07069
     Booker, Kenneth              3:19-cv-00646
    Bordeaux, William             3:19-cv-00960
        Born, John                3:20-cv-04653
     Bostick, George              3:19-cv-05879
  Boudreaux, Jonathan             3:19-cv-06796
        Bourg, Gary               3:20-cv-05114
   Bourgeois, Jill, et al.        3:18-cv-05249
      Boyer, Patsy H.             3:19-cv-04661
      Bradley, Angela             3:19-cv-07136
 Bradley, Harley R. et al.        3:19-cv-03523
    Bradley, Michael R.           3:19-cv-05649
    Bradshaw, Lena G.             3:19-cv-06571
       Brame, David               3:17-cv-04430
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  MDL Case Name           Current Cause #
   Branham, Linda          3:20-cv-03106
     Braun, David          3:20-cv-00058
     Bray, Zander          3:18-cv-02098
Breaux, Sr., Gerard C.     3:20-cv-01633
   Breitbach, John         3:19-cv-05250
Brewton, Jr., Roosevelt    3:20-cv-04209
 Bridgeman, Charles        3:16-cv-05785
   Bridgers, Emery         3:19-cv-05065
  Brizendine, Annett       3:19-cv-03324
  Broadway, Ronald         3:20-cv-02636
    Brock, Patricia        3:19-cv-06957
     Brode, Joyce          3:18-cv-01150
 Brohimer, Donald A.       3:19-cv-07861
    Brook, Ronald          3:19-cv-04932
    Brooks, Jessie         3:19-cv-05955
 Brooks, John, et al.      3:18-cv-03188
  Broomfield, Scott        3:19-cv-04930
  Brown, Amy Bryan         3:20-cv-03435
    Brown, Daniel          3:20-cv-06658
    Brown, Donna           3:20-cv-01027
    Brown, Edward          3:19-cv-06963
   Brown, Hugh C.          3:19-cv-06572
    Brown, James           3:17-cv-07254
 Brown, Johnny Ray         3:20-cv-03681
   Brown, Matthew          3:19-cv-05066
   Brown, Samuel           3:19-cv-04418
  Bruinsma, Sjoerd         3:19-cv-01931
   Brunton, Randy          3:19-cv-04484
Bryant, Robert Steven      3:20-cv-02292
    Bryant, Roger          3:19-cv-06395
    Bryner, Donald         3:19-cv-04868
   Buchanan, Mark          3:20-cv-03718
   Buck, William C.        3:19-cv-08065
 Buckingham, Loretta       3:19-cv-04929
    Buckley, Ross          3:20-cv-03927
   Bucklin, Garland        3:19-cv-07603
     Bucy, James           3:20-cv-03357
    Bullock, Kevin         3:19-cv-02575
   Bulone, Angelo          3:20-cv-03719
  Bumpus, Bobby C.         3:19-cv-05504
Burcina, Jr., Robert J.    3:20-cv-04013
   Burdett, Wendy          3:16-cv-06027
   Bureau, Tina S.         3:19-cv-07211
    Burman, David          3:18-cv-04793
   Burns, Kathleen         3:18-cv-00918
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    MDL Case Name          Current Cause #
  Burns, Raleigh Hugh       3:19-cv-07909
      Burton, Gary          3:18-cv-02437
    Burton, James A.        3:19-cv-07111
     Burton, Jennie         3:20-cv-05529
     Bush, Tony R.          3:19-cv-07866
     Buss, Deborah          3:19-cv-05067
    Bussard, Steven         3:19-cv-04710
Bussmann, Robert Lindsay    3:20-cv-00850
      Butsch, Craig         3:17-cv-00167
      Butt, Charles         3:18-cv-07272
   Cadwallader, Kelley      3:20-cv-03358
       Cain, John           3:19-cv-04870
     Cajina, Simeon         3:19-cv-06828
Caldwell, Robert Eugene     3:20-cv-03436
   Callahan, Sr., Harry     3:19-cv-06795
     Callis, Samuel         3:19-cv-07101
     Camara, Victor         3:19-cv-06965
    Cameron, Walter         3:20-cv-01272
     Caminiti, Philip       3:18-cv-02935
     Campbell, Beth         3:19-cv-04934
    Campbell, David         3:19-cv-00654
    Campbell, Linda         3:19-cv-01377
 Campbell, Richard Estil    3:20-cv-01064
  Campbell, Rickey Ray      3:19-cv-07350
    Canney, Siobhan         3:20-cv-00527
      Capo, Arthur          3:18-cv-07633
     Cardillo, Debra        3:19-cv-06833
    Carella, Anthony        3:19-cv-06288
       Cargle, Jeff         3:19-cv-07096
     Carlisle, Marie        3:19-cv-04933
     Carlock, Marvin        3:16-cv-06009
     Carlson, Brett         3:19-cv-06094
    Carpenter, Janet        3:19-cv-04472
       Carr, David          3:18-cv-04792
     Carriere, Jerald       3:18-cv-05778
      Carroll, Alfred       3:18-cv-04615
      Carson, Gail          3:20-cv-06238
  Carter, Brenda Faye       3:20-cv-02564
     Carter, Charles        3:19-cv-06947
     Carter, David J.       3:20-cv-00765
      Carter, Joyce         3:18-cv-01961
  Casey, James Donald       3:20-cv-00055
     Cashdollar, Lori       3:19-cv-03328
     Castillo, Daniel       3:19-cv-04388
    Castro, Mauricio        3:19-cv-06034
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     MDL Case Name            Current Cause #
       Castro, Olga            3:19-cv-04855
      Castro, Rafael           3:19-cv-04858
      Castro, Renilda          3:19-cv-03887
     Castro, Rosalinda         3:19-cv-04936
     Catalano, Michael         3:19-cv-07614
 Catanzarite, Sharon Ann       3:20-cv-00849
     Catlett, Kenneth          3:20-cv-02423
      Cato, Susanne            3:19-cv-06269
      Cavey, Kenneth           3:19-cv-04671
       Chafin, Bard            3:19-cv-04516
     Chambers, Ricky           3:19-cv-03534
      Chandler, Todd           3:19-cv-06023
      Chapman, Dick            3:19-cv-06726
 Chavez, Armando Vargas        3:18-cv-04855
      Chierici, Phillip        3:18-cv-05274
     Chipperfield, Alan        3:19-cv-06430
      Choate, Lanny            3:19-cv-03390
   Christensen, David H.       3:19-cv-04679
Christensen, Steven Royce      3:17-cv-00738
      Christian, Larry         3:19-cv-07988
   Christiansen, Patricia      3:19-cv-02172
 Christopherson, Barry K.      3:19-cv-05376
    Cichowicz, Valerie         3:20-cv-03437
       Clapp, Billy J.         3:20-cv-00499
       Clark, Cindy            3:19-cv-01781
       Clark, Gerald           3:20-cv-00494
       Clark, Jr., Ed          3:19-cv-07875
   Clarke, Wanda, et al.       3:17-cv-04824
Clawson-Roberts, Melanie L.    3:19-cv-06573

      Clayton, Keith           3:19-cv-03075
     Clayton, Linda D.         3:19-cv-07194
   Clements, Arthur Mac        3:19-cv-04711
      Clifton, James           3:19-cv-04496
       Clinker, Mark           3:19-cv-06574
        Clock, Alan            3:19-cv-07094
      Cloutier, Robert         3:19-cv-00808
      Coats, Mildred           3:18-cv-06543
       Cobb, Jason             3:20-cv-04833
     Cochran, Larry R.         3:19-cv-07195
      Cockrell, Mary           3:20-cv-02420
    Cocozza, Anthony           3:19-cv-07114
   Cohen, David Robert         3:19-cv-02077
       Cohen, Saul             3:19-cv-03632
      Cohn, Richard            3:19-cv-04861
   Colasuonno, Richard         3:19-cv-04937
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    MDL Case Name             Current Cause #
    Colbert, Kathleen          3:19-cv-04419
  Coleman, Amanda T.           3:20-cv-00022
   Coleman, Clorana            3:19-cv-06035
Coleman, Joe and Brenda        3:19-cv-05068
    Collins, Robert E.         3:19-cv-02210
     Colvin, Gary D.           3:19-cv-07104
    Combs, Gregory             3:19-cv-04468
   Comeaux, Barbara            3:20-cv-03107
   Concepcion, David           3:20-cv-00843
     Conyers, Mimia            3:19-cv-05959
     Cook, Charlotte           3:20-cv-00416
     Cooksey, Kevin            3:19-cv-07135
   Coombs, Kathleen            3:20-cv-00207
      Cooper, Mikle            3:17-cv-02212
   Cooper, Mitchell B.         3:19-cv-06575
  Cooper, Otho Ruben           3:19-cv-05890
      Cope, Robert             3:20-cv-07320
   Corban, Debra Kay           3:20-cv-03823
      Corbett, Larry           3:19-cv-06950
  Cosgrove, Maryellen          3:20-cv-02631
  Cossentino, Francis          3:19-cv-02384
    Couey, Lawrence            3:16-cv-05653
      Coulter, Chad            3:19-cv-00961
     Coviello, John            3:18-cv-07632
     Covington, Lillie         3:18-cv-05298
    Covington, Palma           3:20-cv-02055
  Cox, Charles Jeffrey         3:19-cv-05656
      Cox, Dianne              3:19-cv-04939
      Craig, Walter            3:20-cv-06660
      Crane, Linda             3:17-cv-02173
     Crawford, Joel            3:19-cv-05239
     Creamer, Maria            3:20-cv-01224
    Crisovan, Valeriu          3:19-cv-06439
Croft-Bailey, Patricia Ann     3:20-cv-03438
    Crosby, Kenyatta           3:19-cv-07455
    Crouch, Leonard            3:19-cv-06944
    Crouse, Charles            3:19-cv-06172
    Cuevas, Clint M.           3:18-cv-04554
   Culbertson, David           3:19-cv-01780
 Culler, Barbara Zellers       3:19-cv-06401
    Curtis, Harvey T.          3:18-cv-02937
    Curts, Frederick           3:17-cv-03206
     Curts, Larry G.           3:17-cv-05740
Curtsinger, William, et al.    3:17-cv-03205
     Cushman, John             3:16-cv-06018
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    MDL Case Name          Current Cause #
    Czaplicki Stanley       3:18-cv-05311
  Dabbraccio, Pasquale      3:19-cv-07878
Dades, Jr, George Edward    3:19-cv-06289
     Dahl, Richard          3:18-cv-01149
      Daigle, Lori          3:20-cv-00589
    Dailey, Christine       3:19-cv-04467
     Dajniels, Chris        3:19-cv-05069
    Dalrymple, Keith        3:19-cv-04871
     Dalton, Laura          3:20-cv-00420
    Dancer, Ronnie          3:20-cv-06125
  Dannen, Christiopher      3:19-cv-04940
     Darden, Casey          3:20-cv-02976
    Darroh, Donovan         3:18-cv-03552
    Daulton, Tyrone         3:20-cv-06661
   D'Aunoy, Yvette A.       3:20-cv-01014
 Davenport, Jon Anthony     3:19-cv-06966
     David, Darlene         3:19-cv-06019
   Davidson, Sandra         3:19-cv-07893
      Davie, Keith          3:19-cv-05960
   Davis, Christopher       3:19-cv-08381
    Davis, Morgan S.        3:19-cv-08224
  Davis, Pamela Hays        3:19-cv-07398
     Davis, Patricia        3:19-cv-04109
   Davis, Thomas A.         3:19-cv-05318
      Dean, Philip          3:18-cv-01356
     Dean, Rodney           3:17-cv-03226
   DeCamps, Andres          3:19-cv-06083
     Dedrick, Arthur        3:19-cv-04381
     Deese, Peggy           3:18-cv-03557
      Delain, Jack          3:20-cv-00500
   Delancellotti, Mark      3:20-cv-00533
    Deloach, James          3:19-cv-06051
 Delorme-Barton, Karen      3:18-cv-01427
      Delp, Terri P.        3:19-cv-06053
    Delsuc, Laurent         3:19-cv-02079
     Denson, Gary           3:20-cv-00593
     Derifield, Mike        3:19-cv-07527
   DeRobbio, Michael        3:20-cv-06776
   DeRooy, David B.         3:19-cv-05320
     DeSesa, Heidi          3:20-cv-00964
 DesRosiers, Beverly A.     3:20-cv-00310
  Deutsch, Gary, et al.     3:17-cv-03230
    Devers, Odine B.        3:19-cv-07886
   DiBeneditto, Mary        3:18-cv-02911
    Dickey, Robert L.       3:19-cv-04102
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    MDL Case Name            Current Cause #
       Diles, Tracy           3:20-cv-03110
   DiMaggio, Charles          3:20-cv-05369
    DiMaggio, Elena           3:19-cv-07100
   Dismuke, Jonathan          3:19-cv-06798
       Disney, Ken            3:19-cv-04872
       Dixon, Alan            3:19-cv-06279
     Dodson, Galen            3:19-cv-07882
    Dokken, Michelle          3:19-cv-04511
    Dolenc, Cheryl L.         3:20-cv-03361
     Doles , Paul W.          3:19-cv-04668
 Domina, Larry E., et al.     3:16-cv-05887
   Dormaier, Roger L.         3:19-cv-07820
      Doty, Carolyn           3:17-cv-04353
   Dougherty, John J.         3:19-cv-06952
   Dovenmuehle, Neal          3:18-cv-01102
      Dow, Robert             3:20-cv-06662
    Dowling, Michael          3:17-cv-00166
     Downes, Robert           3:19-cv-04455
      Downs, Joan             3:20-cv-06124
     Doyle, Michael           3:19-cv-05073
     Dresh, Steven            3:20-cv-00520
    Drover, Douglas           3:19-cv-06951
     Dubcak, Julius           3:20-cv-01833
     Dufore, Kathryn          3:19-cv-05961
     Duhon, Cynthia           3:18-cv-05406
   Dunbar, Brynda S.          3:19-cv-06029
      Dunlap, Gary            3:19-cv-06716
  Dunlap, Joel Michael        3:19-cv-06280
    Dunston, Vernon           3:18-cv-04798
   Duppstadt, Joseph          3:19-cv-04673
  Durrance, William A.        3:19-cv-06806
      Dwyer, Curtis           3:19-cv-06954
     Dyson, Charles           3:20-cv-00501
      Dziewa, John            3:20-cv-00626
    D'Zugen, Robert           3:19-cv-08112
 Economy, Alice Bolles        3:20-cv-02400
Eddins, Martha Virginia G.    3:19-cv-08118
    Edelstein, George         3:19-cv-07137
     Edwards, John            3:18-cv-05313
 Edwards, Myrlon, et al.      3:17-cv-07365
    Ehrhardt, Dennis          3:19-cv-04451
Eilmes, Jr., Kenneth Noel     3:19-cv-05345
    Ellington, Jimmie         3:19-cv-03496
      Ellis, Timothy          3:19-cv-06091
      Enis, Timothy           3:19-cv-04760
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  MDL Case Name            Current Cause #
   Ermeloff, Patricia       3:19-cv-05074
     Esler, Robert          3:19-cv-05075
  Estrella, Romualdo        3:19-cv-06039
    Evans, Karen            3:19-cv-00005
   Fair, Michael R.         3:17-cv-05573
  Fant, III, Andrew P.      3:20-cv-01586
  Faraschuk, Laura          3:19-cv-05076
    Farber, Daniel          3:19-cv-06719
   Farkas, Bernice          3:19-cv-07400
Farrell, Jeffrey Michael    3:20-cv-03721
  Farrell, Richard P.       3:20-cv-01228
   Fasnacht, Hallie         3:19-cv-06272
     Favors, Carol          3:20-cv-02294
    Fazio, Joseph           3:20-cv-01023
  Fedczak, Michael          3:19-cv-05878
    Fehling, James          3:19-cv-05340
    Fennell, Debra          3:19-cv-05228
    Fenton, Roger           3:19-cv-06425
  Ferguson, Howard          3:19-cv-06945
  Ferguson, William         3:19-cv-06037
    Ferkel, Randy           3:19-cv-04476
   Fermanian, Ara           3:20-cv-02060
      Field, Alan           3:20-cv-06777
    Fields, Rodney          3:19-cv-06803
     Fink, Daniel           3:19-cv-04915
     Finley, Paul           3:19-cv-06089
  Finneman, Connie          3:18-cv-07021
      Fitch, Mary           3:19-cv-04935
    Fitch, Stephen          3:20-cv-00016
Fiumara, Rosario Reno       3:19-cv-06283
   Flannery, Donald         3:19-cv-06261
    Flores, George          3:20-cv-00597
    Florquist, Jace         3:19-cv-01557
     Floyd, Betsy           3:19-cv-06976
    Floyd, Carolyn          3:20-cv-06663
     Fogel, Glenn           3:19-cv-04938
     Follett, Tina          3:19-cv-04865
Fontenot, Aimee Morein      3:19-cv-07973
    Foote, Jeffrey          3:20-cv-03600
   Foral, Sr., Robert       3:20-cv-03440
     Ford, Marvin           3:17-cv-04427
      Ford, Mary            3:16-cv-06030
   Ford, Russell J.         3:19-cv-05884
     Forrest, Mike          3:19-cv-04520
     Forward, Roy           3:19-cv-07097
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    MDL Case Name             Current Cause #
       Foster, Carl            3:18-cv-03548
        Fox, Edwin             3:19-cv-05970
       Foy, Michael            3:17-cv-04889
      Frady, Geneva            3:19-cv-02076
     Franklin, Renee           3:19-cv-05455
     Frazier, Weldon           3:19-cv-07883
     Frederick, Ryan           3:20-cv-04835
    Freeman, Virginia          3:17-cv-03225
   Freepons, Jeffrey G.        3:19-cv-03577
       Frey, Donald            3:19-cv-04498
     Frickson, Robert          3:19-cv-03339
    Friedman, Charles          3:18-cv-07628
      Friesen, Paula           3:19-cv-06811
      Frost, Mike R.           3:19-cv-06576
        Fry, James             3:20-cv-04836
     Frymire, John M.          3:19-cv-06055
       Fugitt, Bobby           3:20-cv-04208
     Fulcher, Jimmie           3:19-cv-06028
      Fuller, Melissa          3:18-cv-06542
      Furnice, Ruth            3:19-cv-04943
     Furnival, Wayne           3:19-cv-07980
     Gajdzik, George           3:18-cv-04797
    Galang, Leonides           3:19-cv-06183
      Galison, Robin           3:19-cv-06441
 Gallagher, Melanie, et al.    3:17-cv-03216
    Gallegos, Santiago         3:19-cv-06813
    Gallimore, Anthony         3:19-cv-00647
       Galosi, Peter           3:19-cv-00279
       Galvan, Paul            3:17-cv-00781
      Gardner, Bryon           3:19-cv-06287
      Gardner, Kent           3:19-cv-007853
      Garner, James            3:19-cv-01562
       Garner, John            3:20-cv-04205
      Garred, Steven           3:19-cv-04446
    Garrison, Richard          3:19-cv-00280
       Garvel, Linda           3:17-cv-03217
Gastelum, Jesus & Isabelle     3:19-cv-04944
       Gates, Jesse            3:19-cv-05078
      Gatson, Darryl           3:18-cv-05317
        Gebo, Ron              3:17-cv-00168
      Gehring, Dina            3:19-cv-04836
    Geisinger, Mason           3:19-cv-04849
    Genereaux, Heidi           3:19-cv-03464
    Gentile, Stephanie         3:19-cv-04662
   George, Charles W.          3:20-cv-01767
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   MDL Case Name           Current Cause #
     Getz, Donald           3:19-cv-05653
  Gibbens, Clement          3:19-cv-06962
     Gibbs, Rex A.          3:20-cv-01416
     Gibbs, Ricky           3:16-cv-05652
     Gibson, John           3:18-cv-02754
    Gibson, Russell         3:20-cv-03725
    Gibson, Sharon          3:20-cv-06347
     Gill, Kenneth          3:19-cv-05962
 Gilroy, Gerard Daniel      3:20-cv-03441
 Gines, Russell, et al.     3:18-cv-07015
    Glackin, Jeffrey        3:19-cv-06084
Gleeson, John Charles       3:20-cv-05962
     Glenn, Candy           3:19-cv-04945
  Gleysteen, Ronald         3:19-cv-05079
      Glick, Tara           3:19-cv-03598
Gloudemans, Carolyn T.      3:20-cv-00628
   Gobber, Rodney           3:20-cv-06348
   Godsey, Patricia         3:19-cv-00923
    Golden, Robert          3:19-cv-05248
  Goldstein, Barbara        3:19-cv-04942
     Golike, Mark           3:19-cv-05100
   Gonzalez, Martin         3:19-cv-03300
   Gonzalez, Tomas          3:19-cv-07392
Goodbred, Larry, et al.     3:16-cv-06010
 Goodbred, Mary Ellen       3:19-cv-04343
    Gordillo, James         3:20-cv-02840
 Gordon, Gerald Keith       3:20-cv-01271
  Goskowicz, Randall        3:19-cv-04873
   Gossman, Mark            3:18-cv-06547
     Gould, Paula           3:19-cv-04116
  Graczyk, Stephanie        3:19-cv-04874
    Grant, Chantel          3:19-cv-04947
   Grasso, Michael          3:19-cv-05101
   Grauley, John E.         3:20-cv-01958
   Graves, Richard          3:19-cv-03858
     Green, Helen           3:18-cv-05276
     Green, Tracy           3:18-cv-05238
  Greenberg, Cynthia        3:19-cv-07343
 Greene, Lauren, et al.     3:19-cv-04299
   Greenleaf, Marvin        3:19-cv-05080
    Gregg, Robert           3:19-cv-04982
 Griffeth, Craig, et al.    3:18-cv-05777
 Griffin-Young, Joseph      3:20-cv-02298
   Griffith, Linda D.       3:20-cv-01820
     Grillo, Angelo         3:20-cv-06501
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   MDL Case Name           Current Cause #
     Grimpo, Alan           3:20-cv-06664
  Grisler, Kenneth M.       3:19-cv-05456
     Grove, Linda           3:19-cv-04670
    Grunwald, Gary          3:19-cv-04955
   Guevara, Luz A.          3:20-cv-00020
   Guice, Delores J.        3:20-cv-03601
     Gurley, Ruth           3:19-cv-02048
    Gusler, Gerald          3:19-cv-04457
  Gustafson, Steven         3:20-cv-05875
    Guthrie, Clare          3:19-cv-07767
  Guzman, Florentina        3:19-cv-04479
  Guzman, Marie A.          3:19-cv-05963
   Haase, Caryl Ann         3:19-cv-05957
    Hacker, Brenda          3:19-cv-06432
   Hagaman, Boyd            3:17-cv-03447
      Hale, Ralph           3:20-cv-04329
      Hall, James           3:19-cv-02171
     Hall, Priscilla        3:20-cv-00528
  Hameister, Donald         3:20-cv-00429
    Hamill, Robert          3:20-cv-00907
   Hancock, Lamar           3:19-cv-06424
  Hannusch, Denise          3:19-cv-04876
   Hansen, Richard          3:19-cv-05082
  Hanson, Donald C.         3:20-cv-01011
   Hanson, Richard          3:19-cv-04122
   Hardison, Maxie          3:19-cv-06805
    Hardy, James            3:19-cv-05004
  Harmeling, Timothy        3:19-cv-07357
    Harmon, James           3:20-cv-04215
     Harper, Larry          3:19-cv-03378
  Harrington, Sheldon       3:20-cv-00428
    Harris, Anthony         3:17-cv-03199
    Harris, Douglas         3:16-cv-05786
 Harris, James Charles      3:20-cv-00847
    Harris, Steven          3:17-cv-04459
  Harrison, Christine       3:19-cv-04466
Hartman, Charles, et al.    3:18-cv-01089
Hartman, Wayne, et al.      3:17-cv-03219
Hasty Jones, Emily Dale     3:19-cv-04719
    Havlovic, Kevin         3:19-cv-07676
 Hawkins, Richard H.        3:19-cv-03519
   Hayden, Francis          3:18-cv-05640
  Hayden, Neal Allen        3:19-cv-05600
     Haydon, Jon            3:19-cv-07740
     Hayes, Derril          3:19-cv-05102
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    MDL Case Name            Current Cause #
   Hayes, Jr., Robert         3:19-cv-01362
      Hays, Albert            3:20-cv-01555
      Hazel, Mary             3:19-cv-01560
      Heath, Kristin          3:19-cv-04761
    Helton, Cindy S.          3:19-cv-07987
     Hempy, Robert            3:19-cv-04667
  Hendrickson, Richard        3:19-cv-05084
     Henry, Amber             3:19-cv-07317
    Henson, Norman            3:19-cv-05086
     Henwood, John            3:18-cv-05488
    Herbster, Nancy           3:19-cv-07233
      Hergert, Lynn           3:20-cv-00017
 Hernandez, Esmeralda         3:19-cv-04916
Hernandez, Gabriel et, al.    3:19-cv-00489
    Hernandez, Ines           3:16-cv-05750
   Hernandez, Milton          3:19-cv-05654
     Herod, Robert            3:20-cv-00629
      Herr, Michael           3:19-cv-01563
    Herzek, Michael           3:19-cv-06804
     Heuss, Laurie            3:19-cv-04678
        Hiatt, Jan            3:18-cv-07273
       Hill, James            3:20-cv-03443
       Hill, Willie           3:19-cv-04715
     Hillger, Allen L.        3:19-cv-04657
      Hines, Cecilia          3:19-cv-05103
  Hinnerschietz, John         3:20-cv-02079
    Hirsberg, George          3:20-cv-03602
       Hix, Nelma             3:19-cv-04494
     Hobbs, Jeremy            3:19-cv-04465
     Hodge, Walter            3:19-cv-07880
     Hodges, Terry            3:18-cv-01699
      Hoff, Barbara           3:19-cv-06036
     Hoffman, Kevin           3:19-cv-08033
     Hoffman, Sam             3:19-cv-05104
      Hoge, Merril            3:19-cv-04606
    Hogg, Juanita S.          3:20-cv-06350
  Hoisington, Anthony         3:19-cv-05089
      Holden, Allen           3:19-cv-07871
     Holden, Bruce            3:20-cv-00052
     Holden, Nellie           3:19-cv-07141
   Hollander, Michael         3:20-cv-03114
    Holliday, Wendel          3:20-cv-03934
       Holm, John             3:17-cv-00734
   Holmes, Christoper         3:20-cv-03363
    Holmes, Edward            3:18-cv-06548
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   MDL Case Name          Current Cause #
   Holmesly, Joshua        3:20-cv-00598
   Homsey, John K.         3:19-cv-06816
   Honaker, Patricia       3:17-cv-04842
    Hong, Kenneth          3:19-cv-02895
     Hooks, Larry          3:19-cv-07865
      Horn, Keith          3:17-cv-03943
Hornbeck, Charles Randy    3:19-cv-05564
     Horton, Leif E.       3:19-cv-05260
    Horton, Ronnie         3:20-cv-01012
    Hoskin, Michael        3:20-cv-06665
   Hubert, Maureen         3:19-cv-05090
     Hudson, Janet         3:19-cv-02818
    Huenink, Terry         3:19-cv-05575
     Huffman, Alan         3:20-cv-00421
 Hughes, Marla Rachel      3:19-cv-04716
   Hummer, Kimberly        3:19-cv-05010
   Humphrey, Robert        3:19-cv-04504
   Humphries, Lilian       3:19-cv-05091
   Hunt, Fred William      3:20-cv-00023
     Hunt, Neil B.         3:19-cv-06086
   Huntley, Carol Ann      3:19-cv-06407
     Hurst, Velma          3:20-cv-01761
      Huskey, Jan          3:17-cv-03213
    Huston, Richard        3:19-cv-04121
  Hutchison, Raymond       3:18-cv-01696
     Hyman, Larry          3:18-cv-05314
  Imboden, Richard K.      3:20-cv-06603
   Imperato, Theresa       3:20-cv-01276
      Ingle, Eddie         3:19-cv-01500
    Insalaco, Nancy        3:19-cv-06961
       Irish, Ken          3:19-cv-05092
     Ista, Richard         3:19-cv-06185
      Izer, Elaine         3:20-cv-00502
   Jackness, Jeffrey       3:19-cv-06085
   Jackson, Marie L.       3:19-cv-04718
   Jackson, Michael        3:19-cv-05094
   Jackson, Michael        3:19-cv-07345
  Jackson, Ridgely L.      3:20-cv-06191
   Jamison, Michael        3:19-cv-04762
    Janise, Clayton        3:16-cv-06004
   Janzen, Royce D.        3:19-cv-04103
    Jarrell, Michelle      3:19-cv-07741
      Jarvis, Dan          3:19-cv-07892
    Jenkins, Charles       3:19-cv-06815
 Jenkins, Edna Dianne      3:19-cv-04763
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    MDL Case Name              Current Cause #
        Jenks, Ray              3:19-cv-03591
      Jennings, Amy             3:19-cv-04830
    Jennings, George            3:19-cv-05134
     Jensen, Thomas             3:19-cv-06729
     Jernigan, James            3:17-cv-03204
Jessup, Benjamin Russell        3:20-cv-01921
      Jilnicki, Robert          3:19-cv-06047
     Jizhak, Eugene             3:20-cv-04646
       Joffe, Jeffrey           3:18-cv-00430
    Johansing, Peter            3:16-cv-05751
     Johns, Harold T.           3:20-cv-00002
     Johnson, Aaron             3:16-cv-06043
    Johnson, Brenda             3:19-cv-04456
     Johnson, Craig             3:20-cv-00012
     Johnson, David             3:20-cv-04225
    Johnson, Deborah            3:19-cv-04017
   Johnson, Edward H.           3:20-cv-00166
   Johnson, James E.            3:19-cv-07981
    Johnson, Jeanna             3:18-cv-00329
    Johnson, Johnnie            3:19-cv-04502
    Johnson, Joseph             3:19-cv-05255
   Johnson, JR., John           3:19-cv-05015
  Johnson, Kenneth W.           3:19-cv-06577
     Johnson, Linda             3:19-cv-05135
     Johnson, Roger             3:19-cv-06725
Johnson-Tannan, Lowell          3:19-cv-05956
 Johnston, James Wiley          3:20-cv-07887
      Jones, Alfred             3:19-cv-06722
     Jones, David V.            3:19-cv-02199
       Jones, Dena              3:19-cv-05105
    Jones, Douglas G.           3:19-cv-06408
  Jones, Jr., Johnny Jay        3:20-cv-02808
     Jones, Kenneth             3:20-cv-06666
        Jones, Lori             3:20-cv-04837
   Jones, Nicholas C.           3:19-cv-06406
      Jones, Phillip            3:20-cv-00458
    Jones, Raymond              3:19-cv-00649
     Jones, Terry H.            3:19-cv-06087
      Jones, Tommy              3:19-cv-04764
Jones-Basler, Caitlin et al.    3:19-cv-03536
      Jordan, Elmer             3:18-cv-00982
  Jordan, Louie Curklin         3:20-cv-03365
      Joyce, Gerald             3:20-cv-00928
    Kaiser, Elizabeth           3:20-cv-00999
      Kalfayan, John            3:19-cv-05965
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      MDL Case Name              Current Cause #
       Kallaus, Susan             3:20-cv-00503
        Kaplan, Allen             3:20-cv-01365
       Kargen, Robert             3:19-cv-03860
         Karl, James              3:20-cv-00504
      Karns, Lawrence             3:19-cv-05136
        Kaup, Junella             3:20-cv-05534
         Kay, Tiffany             3:19-cv-04864
       Kearney, David             3:17-cv-05543
        Kearns, Kevin             3:19-cv-06709
        Keehn, Judith             3:19-cv-05138
     Keen, Horace Clark           3:19-cv-07856
Keene Williams, Mary Kathyrn      3:19-cv-04783

        Kelley, David             3:19-cv-01722
        Kellum, Frank             3:19-cv-05193
        Kelly, Maxine             3:19-cv-05139
         Kelsey, Lyle             3:20-cv-00596
        Kennedy, Ann              3:19-cv-03340
      Kennedy, Dennis             3:19-cv-06178
       Kennedy, Henry             3:18-cv-01106
      Kennedy, Marvin             3:18-cv-06552
         Kent, Rick               3:20-cv-04210
        Kidwell, Lorna            3:19-cv-05966
       Kincell, Bonnie            3:20-cv-03446
         King, David              3:19-cv-05258
        King, Gordon              3:20-cv-00519
       King, III, James           3:18-cv-04690
        King, Robert              3:17-cv-04843
       King, Robert T.            3:19-cv-04531
      King, Stacy Allen           3:19-cv-04766
      Kinkead, Kevin P.           3:20-cv-03447
     Kinman, James R.             3:19-cv-05876
       Kinney, Tony B.            3:20-cv-03075
      Kinser, Donald L.           3:19-cv-03058
         Kirsch, Neil             3:19-cv-00959
      Kirschman, Sigrid           3:20-cv-00244
       Kiss, Michael J.           3:20-cv-04838
         Kivor, Barry             3:20-cv-00266
        Klaas, Erwin              3:19-cv-05106
         Klein, Jerry             3:20-cv-01273
        Kles, Pamela              3:19-cv-04856
Klingensmith, Jr., John Joseph    3:20-cv-03603

     Klodzinski, Michael          3:18-cv-02941
      Kluver, Christine           3:19-cv-05259
        Kneifer, John             3:19-cv-06435
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       MDL Case Name               Current Cause #
         Kneller, Gary              3:19-cv-07854
          Knoll, Ken                3:20-cv-05868
   Koch, Douglas & Cynthia          3:19-cv-04877
   Kofler, Kathleen & Kevin         3:19-cv-04844
        Kofman, Boris               3:19-cv-05140
        Koons, Beverly              3:17-cv-06903
          Kozio, Ken                3:19-cv-04574
         Kozy, Janine               3:19-cv-02714
         Kraner, Kevin              3:19-cv-05107
       Krumrine, Joellen            3:19-cv-07201
       Krunnies, Klaus              3:18-cv-07071
     Krupinski, Lawrence            3:19-cv-06030
         Krupp, Alan                3:20-cv-06667
       Kubena, Gerald               3:19-cv-07379
L.B., a minor, by his parent and    3:19-cv-01554
  natural guardian, Gratziela
           Crisovan
        LaCount, Linda              3:19-cv-06827
         Ladd, Robert               3:19-cv-04488
      Laguidice, Thomas             3:19-cv-05112
         Lahr, Cynthia              3:20-cv-00521
       Lamanna, Perry               3:20-cv-03716
        Lamb, William               3:18-cv-06541
       Lamdin, Connie               3:19-cv-06797
  Landgrave, Thomas Mark            3:19-cv-06426
       Landry,Jr., Eddie            3:18-cv-05497
         Lane, Lewis                3:19-cv-05141
        Laney, Cynthia              3:19-cv-04878
       Lanza, Nicholas              3:19-cv-07855
        Lapadula, Jack              3:19-cv-06391
        Largent, David              3:19-cv-05137
       Larsen, Charles              3:19-cv-00004
         Larson, Carol              3:20-cv-01544
        Larson, Marcia              3:19-cv-05142
      Larson, Michael S.            3:19-cv-03815
        Larson, Timm                3:19-cv-05113
       Lashock, Patricia            3:18-cv-00067
       Lathrop, Leanne              3:19-cv-05114
         Latimer, Mae               3:18-cv-05273
       Laughlin, Mark D.            3:19-cv-04016
    Laumbach, Robyndee              3:19-cv-05115
        Laurent, Gerald             3:19-cv-07131
       Laurianti, Jason             3:19-cv-02587
      Lawrence, Theresa             3:19-cv-06818
        Lawrence, Tina              3:19-cv-04867
         Lax, Richard               3:17-cv-03209
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     MDL Case Name              Current Cause #
      Lednicky, Alois            3:19-cv-02760
      Ledvina, Ronald            3:19-cv-01561
Lee, Judy, as Nest of Kin for    3:19-cv-04879
       Knight, Robert
         Lee, Ray                3:17-cv-00736
        Lee, Shirley             3:18-cv-02939
      Lenig, Catarina            3:20-cv-00529
        Lenna, Gary              3:19-cv-05143
        Leno, Mario              3:19-cv-06436
     Leonard, Mark C.            3:20-cv-07737
Leonard, Robert Winchester       3:19-cv-06715

     Leslie, Sherry Lee          3:20-cv-07394
       Levy, Michael             3:19-cv-04246
     Lewis, Christopher          3:19-cv-00924
        Lewis, Gary              3:19-cv-07337
        Lewis, Jack              3:19-cv-07580
      Lewis, Richard             3:19-cv-05146
       Lewis, Robert             3:20-cv-00068
     Lewis, Robert W.            3:17-cv-04035
     Lewis, Stevenson            3:20-cv-07323
       Lewis, Susan              3:19-cv-07885
     Lewis, William E.           3:19-cv-02365
      Lezcano, Marco             3:19-cv-06720
       Liggins, Lester           3:19-cv-01938
    Limb, Rusty William          3:20-cv-02299
    Lindeblad, Gary G.           3:20-cv-06781
     Lindjord, Barbara           3:19-cv-07689
       Lindsay, Bev              3:19-cv-04833
      Lingsch, Clifford          3:19-cv-05503
Linnemeier, Wayne & Treasa       3:19-cv-04881

    Lipman, Phillip Alan         3:19-cv-06721
        Lis, William             3:18-cv-07369
      LIttle, Mary Lou           3:20-cv-01829
      Llamas, Manuel             3:17-cv-07258
       Lloyd, Robert             3:19-cv-03579
      Locken, Eugene             3:19-cv-05148
    Lockwood, Edward             3:19-cv-04445
       Loftis, Caitlyn           3:18-cv-04795
        Logan, Jerry             3:18-cv-05239
     Lombardo, Cheryl            3:20-cv-00505
        Long, Dava               3:19-cv-07954
        Long, Joyce              3:19-cv-05264
       Long, Marvin              3:19-cv-04459
        Long, Mary               3:19-cv-07887
      Long, Mercer B.            3:20-cv-03076
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  MDL Case Name             Current Cause #
  Lopacinski, Marek          3:19-cv-02108
Lopez, Jesus Pimentel        3:19-cv-07908
    Lora, Pedro E.           3:19-cv-06265
    Lord, Charlotte          3:20-cv-03071
    Loring, Susan            3:20-cv-05370
    Lovett,Tommy             3:18-cv-03546
    Lowrey, Dawn             3:19-cv-06020
      Loyd, Carl             3:19-cv-01555
  Lucas, Genevieve           3:19-cv-04515
   Lucky, Andrea A.          3:20-cv-00534
   Ludovicy, Peter           3:19-cv-02051
      Luff, Randy            3:19-cv-05108
Lukacs, Barbara Delane       3:20-cv-01223
Lumsden, John Franklin       3:19-cv-04767
      Luu, Thuc              3:19-cv-06195
   Machen, Wendy             3:20-cv-01270
Machtemes, Jonathan          3:19-cv-05116
MacKenn, William Keith       3:19-cv-07199
   Madaline, Albert          3:20-cv-06669
   Madsen, Steven            3:19-cv-03570
    Magee, Tracy             3:19-cv-04882
    Magwire, Gene            3:19-cv-05023
  Mailman, Douglas           3:20-cv-00015
     Mallard, Dora           3:19-cv-04848
    Mallett, Gerald          3:20-cv-01548
   Mallis, Robert H.         3:20-cv-03070
    Manale, Frank            3:17-cv-06700
    Mancuso, Gary            3:16-cv-06047
   Manegio, Richard          3:19-cv-05117
   Manes, Frankie            3:18-cv-05316
   Manger, Doreen            3:19-cv-06717
   Mank, Christine           3:19-cv-08035
  Maraman, Juanita           3:17-cv-02318
    March, Joseph            3:20-cv-06670
   Marchman, Garry           3:17-cv-04352
   Marcum, Patricia          3:18-cv-00128
   Mardis, Deborah           3:20-cv-00522
     Mares, Mary             3:20-cv-01549
   Markham, Lisa J.          3:20-cv-03829
    Markling, Scott          3:19-cv-04119
Marniella, Laurie, et al.    3:17-cv-05546
  Martin, Betty Jane         3:19-cv-06273
    Martin, Donna            3:19-cv-07138
    Martin, Edward           3:18-cv-01109
   Martin, James R.          3:19-cv-03323
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      MDL Case Name             Current Cause #
       Martin, Rexford           3:19-cv-04999
       Martin, Richard           3:19-cv-07928
       Martin, Thomas            3:18-cv-00069
      Martinez, Alonzo           3:19-cv-00957
   Martinez, Ernest, et al.      3:20-cv-00592
      Martinez, Sergio           3:19-cv-04663
        Masko, Torrie            3:19-cv-04491
       Mason, Jeffrey            3:20-cv-00014
       Mason, Michael            3:19-cv-05152
      Masters, James             3:20-cv-00506
       Masters, Mark             3:18-cv-01080
      Matchett, Angela           3:17-cv-07218
Mathis, Royal & Katholyn Jean    3:19-cv-05002

      Matlock, Martha            3:19-cv-00902
       Maxwell, Roger            3:20-cv-01552
       May, Randy E.             3:19-cv-06578
     Mayer, Richard D.           3:19-cv-06343
       Mayes, Richard            3:19-cv-05154
      Mayfield, Angela           3:19-cv-08085
      Mazzeo, Peter A.           3:19-cv-02315
      McAllister, Susan          3:19-cv-07338
      McAteer, Cecilia           3:19-cv-07879
     McBride, Katherine          3:20-cv-00622
       McCaleb, Brent            3:20-cv-00764
      McCall, Anthony            3:16-cv-05749
        McCann, Earl             3:19-cv-04884
      McCarty, Davien            3:19-cv-04958
      McCathan, Jerrell          3:20-cv-00523
       McClure, Sibley           3:20-cv-06671
      McClurg, Sharon            3:19-cv-05006
      McCord, Albertine          3:18-cv-04784
     McCormick, William          3:20-cv-00003
 McCowen, Mark and Debra         3:19-cv-04994
      McCoy, Jeduthan            3:18-cv-00983
      McCoy, Philip V.           3:19-cv-07202
        McCrae, Alex             3:19-cv-00925
     McCravey, Ronald            3:19-cv-04917
       McCray, Marcia            3:19-cv-04991
       McDiffett, Janet          3:19-cv-03900
     McDonagh, John P.           3:19-cv-06431
      McDonald, Allan            3:20-cv-00507
     McDonald, Don C.            3:19-cv-06284
       McDonald, Elja            3:19-cv-05380
      McElvoy, John D.           3:20-cv-00766
      McGary, Richard            3:19-cv-03380
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    MDL Case Name            Current Cause #
      McGee, Edgar            3:18-cv-05275
    McGruder, Carolyn         3:19-cv-07139
     McGue, Thomas            3:19-cv-04508
     McIntosh, Rocky          3:17-cv-03210
     McKay, Richard           3:19-cv-04304
   McKemie, William M.        3:20-cv-07324
       McKim, Miya            3:19-cv-05877
     McLendon, Alton          3:17-cv-04844
     McLeod, William          3:17-cv-03220
      McMahan, Roy            3:19-cv-07739
  McMillian, Gwendolyn        3:19-cv-04470
    McMillion, Joseph         3:18-cv-03547
 McMillon, Kenneth, et al.    3:17-cv-03229
     McNally, Patricia        3:19-cv-07237
     McNeil, Ricky J.         3:19-cv-08356
      McNew, Kevin            3:17-cv-06858
    McRaney, Gloria J.        3:19-cv-04720
     McRight, William         3:19-cv-01776
     McRorie, Bertha          3:18-cv-01110
    McWilliams, Dean          3:20-cv-07104
      Means, David            3:16-cv-05753
      Means, Eileen           3:19-cv-04966
      Medlin, William         3:17-cv-04848
       Mee, Kevin             3:20-cv-01237
     Meeks, John A.           3:19-cv-04611
      Mehrens, Allan          3:18-cv-01151
    Mendoza, Samuel           3:19-cv-04862
    Mendoza, Yolanda          3:16-cv-06046
   Mercer, Lance Dylan        3:19-cv-06403
   Merchant, Mary Anne        3:19-cv-07571
  Merchant, Randolph J.       3:19-cv-03497
Merrell, Eugene and Brandy    3:19-cv-04967
      Meunier, Mitch          3:19-cv-05155
   Meyer III, William J.      3:19-cv-07872
       Meyers, Carl           3:19-cv-06747
       Miceli, Jean           3:19-cv-04514
     Michels, Robert          3:19-cv-04120
    Mikels, Sr., James        3:19-cv-04409
  Miller, Becky and Lorne     3:19-cv-04951
      Miller, Joanne          3:19-cv-04841
      Miller, Patricia        3:19-cv-05801
      Miller, Richard         3:17-cv-04845
      Miller, Robert          3:20-cv-00530
      Miller, Robert          3:19-cv-07112
      Miller, Vincent         3:19-cv-04018
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     MDL Case Name            Current Cause #
       Miller, William         3:20-cv-00192
      Minor, Jennifer          3:19-cv-06275
    Minson, Gregory G.         3:19-cv-07390
       Miracle, Eva            3:18-cv-07308
     Miskinis, Timothy         3:19-cv-05156
  Mitchell, Dorothy, et al.    3:18-cv-04786
     Mitchell, Harry J.        3:19-cv-07867
      Mitchell, James          3:17-cv-00270
       Mitchell, Judy          3:19-cv-04519
      Mitchell, Robert         3:19-cv-04949
      Mitchell, Robert         3:19-cv-04758
    Mitchell, Robert, Sr.      3:19-cv-06736
     Mlejnek, Leonard          3:19-cv-05658
Modisher, James and Susan      3:19-cv-05118

    Mohammad, Sami             3:19-cv-05005
      Molina, Lazaro           3:20-cv-03448
      Monares, Alfred          3:18-cv-07319
      Monroe, Daniel           3:20-cv-00427
  Montemayor, Margaret         3:19-cv-02220
    Montgomery, Linda          3:18-cv-02936
    Moore, Christopher         3:19-cv-04918
      Moore, Gary R.           3:20-cv-06189
  Moore, Henry and Linda       3:19-cv-04971
       Moore, Larry            3:19-cv-04517
     Moore, Terrence           3:19-cv-05009
       Moore, Terry            3:19-cv-04768
     Morales, Noah L.          3:20-cv-01762
   Moreland, Jr., Emory        3:20-cv-03069
       Moreno, Irma            3:20-cv-00497
        Morris, Eric           3:16-cv-06029
      Morrison, Jerry          3:18-cv-01698
     Moscovita, Peter          3:19-cv-06739
     Mosqueda, Otilia          3:20-cv-04644
     Mosteller, Jackie         3:20-cv-02630
       Mowles, Gary            3:19-cv-06410
  Moxlow-Harris, Doreen        3:19-cv-06440
       Mueller, Cory           3:19-cv-05655
  Mulder, Robert Douglas       3:20-cv-01063
Mulholland, Lisa and Joseph    3:19-cv-04990
     Mullahy, William          3:19-cv-04389
      Muller, Gordon           3:19-cv-04968
     Mullin, Richard E.        3:19-cv-07982
       Mullins, Chad           3:18-cv-05318
      Munday, Jerry            3:19-cv-06271
    Mundinger, Marsha          3:19-cv-04770
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     MDL Case Name             Current Cause #
    Mundinger, Norman           3:19-cv-04771
     Munkres, Terrill J.        3:19-cv-04161
       Munn, Linda J.           3:19-cv-04724
      Munoz, Roberto            3:19-cv-02581
   Murawski, Raymond R.         3:19-cv-06807
       Murphy, Milton           3:19-cv-07134
   Murphy, Oliver Michael       3:20-cv-03730
      Murphy, Shawn             3:19-cv-05007
      Murray, Brenda            3:20-cv-05535
       Murray, David            3:19-cv-05157
      Murray, Heather           3:20-cv-00625
       Musfeldt, Linda          3:19-cv-07098
      Mutelet, Olivia G.        3:19-cv-05565
        Myers, Ellyn            3:19-cv-05524
        Myers, Kevin            3:19-cv-05652
         Myers, Kurt            3:20-cv-00531
        Myers, Philip           3:19-cv-04411
   Mythen, Daniel Richard       3:19-cv-06402
        Naff, Michael           3:17-cv-02319
      Nahale, Douglas           3:19-cv-04837
Narczewski, Janie and James     3:19-cv-04979

        Nash, Lewis             3:19-cv-00952
  Nash-Boulden, Stephen         3:19-cv-00118
         Stanley
     Nather, Cynthia            3:20-cv-06672
    Nation, Ronnie Lynn         3:19-cv-06281
     Neal, James David          3:19-cv-04973
      Nelson, Deanna            3:19-cv-04960
        Nelson, Earl            3:19-cv-04964
    Nelson, James Eric          3:19-cv-05968
 Nelson-Scheffler, Debbie L.    3:19-cv-03788
       Nero, William            3:18-cv-01155
      Neumeyer, Paul            3:19-cv-04998
 Neuzil, Cyril and Rebecca      3:19-cv-04954
    Newman, Dell Allen          3:20-cv-03223
      Newman, Johan             3:20-cv-00496
      Newmark, Jack             3:19-cv-06824
      Nicholar, George          3:19-cv-06285
   Nicholson, Earnestine        3:19-cv-05158
     Nickerson, Donald          3:18-cv-03949
 Niederer, Larry and Jayne      3:19-cv-04988
      Niesporek, Evon           3:19-cv-07356
   Niewiadomski, Richard        3:19-cv-05000
        Nisbet, David           3:19-cv-04957
         Noble, Leo             3:18-cv-04853
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   MDL Case Name          Current Cause #
      Noe, Galen           3:18-cv-06489
    Noe, Timmathy          3:19-cv-04885
     Noe, William          3:19-cv-03538
     Noel, Carolyn         3:19-cv-06052
      Nolan, Betty         3:19-cv-05030
      Nolan, Mark          3:20-cv-06673
   Norman, Anthony         3:19-cv-06737
 Northover, Christopher    3:17-cv-00737
  Nottingham, Marion       3:19-cv-04993
     Novak, John           3:19-cv-04984
    Novak, Timothy         3:20-cv-01310
   Nowicki, Timothy        3:19-cv-05011
    Obregon, Rosa          3:19-cv-04507
 O'Brien, Edward Lee       3:20-cv-01917
    O'Bryant, Gary         3:18-cv-04970
  O'Connor, Alice May      3:19-cv-06733
    Ogletree, Larry        3:20-cv-01830
 Okamoto, Edward K.        3:19-cv-06397
     Olah, Mary V.         3:20-cv-00129
   Oldfield, Darlene       3:19-cv-06956
    Oleyar, Loretta        3:19-cv-03859
    Oliver, Shannon        3:19-cv-07881
   Olsen, James S.         3:19-cv-06579
     Olsen, Jeffrey        3:19-cv-05159
   Olson, Jr., Leslie      3:18-cv-00068
  O'Neill, Terrence M.     3:19-cv-06024
    Opel, Kathy M.         3:20-cv-00067
Ortiz, Cynthia and Mary    3:19-cv-04952
    Osborne, Debra         3:20-cv-03830
   Osborne, Sharon         3:20-cv-00431
 Oscar, Jr., George R.     3:20-cv-03066
    Oster, Anthony         3:19-cv-06186
     Ottinger, Nina        3:19-cv-00274
 Otts, John and Emma       3:19-cv-04986
     Overton, Carl         3:18-cv-03554
     Palmer, Carl          3:20-cv-04218
    Palmer, James          3:19-cv-04976
     Palmer, Paul          3:19-cv-00899
   Palmieri, Anthony       3:19-cv-02664
     Paoletti, Lisa        3:19-cv-06802
  Parchman, Charles        3:20-cv-00247
Parker, John and Wanda     3:19-cv-04987
   Parker, Phyllis E.      3:19-cv-04725
    Parker, Richard        3:18-cv-01357
    Parrish, Bonnie        3:19-cv-05033
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     MDL Case Name             Current Cause #
    Parsons, Kenneth J.         3:19-cv-02577
  Passalacqua, Margaret         3:19-cv-06286
     Passaro, Donald            3:19-cv-06801
    Pattermann, Laura           3:20-cv-04204
      Patterson, Carol          3:20-cv-02627
    Patterson, Charles          3:19-cv-04499
     Patterson, Lynda           3:16-cv-05787
       Patton, Mark             3:20-cv-00450
       Paul, Howard             3:19-cv-07128
         Paul, Mark             3:19-cv-07873
      Payes, Eugenio            3:19-cv-04869
        Payne, Gary             3:19-cv-04410
        Payne, J.W.             3:19-cv-07108
       Payne, Robert            3:19-cv-03567
   Payne-Lauder, Vickie         3:20-cv-06674
    Payton, Patricia A.         3:19-cv-07877
     Peabody, Rickey            3:19-cv-00276
     Pearce, Anthony            3:17-cv-05480
      Pearlson, David           3:19-cv-02708
      Pearson, Verna            3:19-cv-07525
        Peavy, Herb             3:19-cv-01318
      Peavy, Herman             3:20-cv-00767
        Peay, Betty             3:19-cv-05160
   Peddycoart, Anthony          3:19-cv-06277
       Pemble, Tyler            3:20-cv-02407
     Pena, Richard A.           3:19-cv-06097
   Pendergrass, Tommy           3:19-cv-01363
    Pentecost, Thomas           3:19-cv-04811
Peperoni, Jr., Ron and Stacy    3:19-cv-05001

       Perez, Miriam            3:19-cv-06808
     Perilman, Richard          3:19-cv-08446
 Perkins, Goldie Christina      3:16-cv-06025
       Perry, Harvey            3:19-cv-06953
       Perry, William           3:18-cv-07631
 Personette, Deloris Marie      3:20-cv-01673
       Peterson, Lon            3:20-cv-03930
      Pettway, Hardy            3:19-cv-02107
Pfister, Dennis and Patricia    3:19-cv-04961
     Pharr, Debra Ann           3:19-cv-04775
       Phillips, Gary           3:19-cv-04888
   Phillips, Lydia Carolyn      3:19-cv-06946
   Pianovsky, Charlene          3:20-cv-05869
      Pierre, Jr., Peter        3:20-cv-01632
   Piesik, Margaret Rae         3:19-cv-05660
       Pindell, Terry           3:16-cv-06649
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      MDL Case Name               Current Cause #
        Pinter, Deann              3:19-cv-05161
Pitman, Kaffle, next of kin for    3:19-cv-05119
       Pitman, Jerry
        Pitts, Denise              3:19-cv-05120
      Pizl, Michal et al.          3:20-cv-00191
     Pizzimenti, Robert            3:19-cv-07376
        Plank, Wilson              3:20-cv-03450
        Platt, Virginia            3:17-cv-04428
       Ploof, Michael              3:19-cv-00010
     Ploplis, Vincent J.           3:19-cv-07099
        Poe, Michael               3:19-cv-07889
         Poirier, Eric             3:19-cv-06438
       Polanco, David              3:19-cv-04835
        Pollard, Frank             3:19-cv-04100
        Pollum, Mark               3:19-cv-04996
        Polsley, Darin             3:20-cv-07107
      Pomerantz, Josef             3:20-cv-01827
       Pool, Kenneth               3:18-cv-04791
        Popinga, Ida               3:19-cv-04972
        Porath, Vicky              3:16-cv-05858
       Porteous, Janet             3:19-cv-04977
        Porter, Karen              3:20-cv-00837
   Portera-Kmiec, Nancy            3:20-cv-03831
      Potter, Catherine            3:18-cv-07320
       Poulin, Michael             3:19-cv-00068
 Powell, Rhonda and Jason          3:19-cv-05121
       Powlick, Robert             3:20-cv-06122
 Price, Morris and Kathleen        3:19-cv-05122
       Priem, Bonnie               3:17-cv-05545
       Prince, William             3:17-cv-04737
       Prins, Curtis A.            3:19-cv-03568
      Pritchard, Daniel            3:20-cv-03369
       Pritchard, Guy              3:19-cv-04970
      Proctor, Warren              3:19-cv-05014
     Pruett, Christopher           3:19-cv-04889
        Pruitt, Robert             3:19-cv-05162
      Puha, Gheorghe               3:19-cv-05346
       Purdy, Gary E.              3:18-cv-07147
       Purdy, Thomas               3:19-cv-07819
     Purner, Jacquelyn             3:20-cv-00432
       Purvis, Eve C.              3:19-cv-06293
   Quigley, Patrick Hayes          3:20-cv-00422
        Raby, George               3:20-cv-00053
    Radanovich, Lilian J.          3:19-cv-06580
  Ragazzo, Sr., Phillip M.         3:20-cv-02633
        Raley, Daryl               3:19-cv-07532
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  Ramirez, Daniel      3:19-cv-04834
 Ramirez, Robert       3:19-cv-02224
  Randal, Michael      3:19-cv-04851
 Randall, Thomas       3:17-cv-07256
  Randolph, Greg       3:19-cv-04696
  Rangel, Steven       3:19-cv-04709
    Rapp, Vicki        3:19-cv-05012
Rasmussen, Dean        3:19-cv-04959
   Ratliff, Jason      3:19-cv-05164
   Rawls, Scott        3:19-cv-02580
    Ray, Daniel        3:18-cv-05639
 Raymond, Patricia     3:19-cv-06735
Rayne, David Walter    3:20-cv-03113
   Raynor, Arlie       3:19-cv-05055
 Redd, Shawnkitta      3:20-cv-00508
   Redd, Violet        3:19-cv-06841
  Redding, Daniel      3:19-cv-04956
  Redwine, Keith       3:19-cv-07868
  Reed, Danny K.       3:20-cv-04641
    Reed, Scott        3:19-cv-05052
   Rees, Harry         3:19-cv-06274
Reeves, Leanne M.      3:20-cv-00851
  Regan, Donna         3:20-cv-06782
  Reger, Debbie        3:19-cv-04458
   Reid, Carolyn       3:19-cv-03391
 Reinig, Benjamin      3:20-cv-03935
    Reis, John         3:19-cv-03524
   Renze, John         3:20-cv-02406
  Reyff, Howard        3:19-cv-05880
 Reynolds, Edward      3:19-cv-04965
Rezendes, Anthony      3:19-cv-04950
  Rhodes, Jolene       3:19-cv-04821
   Ribar, David        3:19-cv-01778
  Ricardo, Patria      3:19-cv-06291
Ricci, Linda Jeanne    3:16-cv-06019
   Rice, Gordon        3:19-cv-00958
  Richards, Larry      3:19-cv-04989
 Richardson, Anita     3:19-cv-06031
Richardson, Donald     3:19-cv-04756
Richardson, Melissa    3:18-cv-03555
  Rickard, Brian       3:18-cv-07759
   Ricke, Anne         3:19-cv-06090
  Ricken, Michael      3:20-cv-00532
  Ricker, Brenda       3:19-cv-04890
Ricks, Margaret H.     3:19-cv-04776
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   MDL Case Name           Current Cause #
     Riley, Bobbie          3:19-cv-07458
    Ring, Sr., Larry        3:19-cv-05869
    Riordan, David          3:19-cv-04483
    Riordan, Vickie         3:18-cv-07368
    Risher, Robert          3:20-cv-00595
     Ristow, Nancy          3:18-cv-01105
    Ritchie, William        3:17-cv-05718
  Rittenhouse, David        3:19-cv-07907
    Rivera, Yarizxa         3:19-cv-05123
Roberts, Christopher L.     3:18-cv-06218
 Roberts, Donna Jean        3:20-cv-02058
    Roberts, Randy          3:17-cv-03231
   Roberts, Timothy         3:17-cv-07099
  Robertson, Gregory        3:19-cv-06738
 Robertson, James M.        3:20-cv-01828
    Robinson, Fred          3:19-cv-04898
   Rochman, Steven          3:17-cv-04429
Rodriguez Murillo, Jesus    3:19-cv-06021
   Rodriguez, Leticia       3:19-cv-03619
   Roger, Stanley R.        3:20-cv-03832
     Ronay, Emma            3:19-cv-07930
  Rosenblatt, Brian D.      3:19-cv-07857
   Rosichan, Lee A.         3:19-cv-05457
    Rosier, Claude          3:19-cv-04382
      Ross, Linda           3:19-cv-04477
     Ross, Robert           3:19-cv-04891
   Rotramel, Debbie         3:19-cv-04417
      Rouse, Billy          3:18-cv-00819
   Roussel, Gilson J.       3:20-cv-03604
    Rowe, John R.           3:20-cv-04224
    Rowlee, Thelma          3:18-cv-03627
   Roy, Sr., Clyde P.       3:19-cv-05595
    Ruano, Chandra          3:19-cv-05969
 Ruble, Jr., Howard L.      3:19-cv-07110
     Ruddy, Marc            3:19-cv-06817
     Rudolf, Harlan         3:20-cv-00524
    Ruffner, Shirley        3:19-cv-04420
     Ruiz, Enrique          3:16-cv-05659
      Ruiz, Jorge           3:18-cv-05320
     Rump, Valerie          3:19-cv-05035
  Runyan, Rosemary          3:17-cv-03449
      Russ, Gayle           3:18-cv-06488
 Russell, Patricia Ann      3:20-cv-00620
    Rustan, Susan           3:19-cv-04863
  Ruth, John George         3:19-cv-04487
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    MDL Case Name           Current Cause #
     Rutland, Bruce          3:19-cv-04892
       Rutt, James           3:19-cv-03018
   Sabraski, Jeffrey J.      3:19-cv-03463
    Saichek, Richard         3:19-cv-06823
    Salapata, Stephen        3:19-cv-04893
      Salogar, Joan          3:19-cv-05051
      Salyer, Donald         3:20-cv-01831
     Sampsel, Dylan          3:19-cv-07197
    Sampson, Thomas          3:19-cv-05124
       Sams, Billy           3:19-cv-07358
     Sanchez, Angel          3:17-cv-03214
 Sanders, Charles Wayne      3:19-cv-04416
      Sanders, John          3:19-cv-04842
    Sanders, John D.         3:16-cv-05752
  Sanders, Thomas Lake       3:19-cv-07401
     Sanderson, Carl         3:19-cv-04895
     Sandifer, Randy         3:20-cv-02057
    Sands, Frederick         3:19-cv-05125
    Santiago, Ramon          3:20-cv-00509
    Sassoon, Patricia        3:19-cv-03838
   Saunders, Raymond         3:17-cv-03215
    Savidge, Keith A.        3:19-cv-06832
     Schade, Brian E.        3:18-cv-05315
    Schaible, Mark G.        3:19-cv-06434
      Scheffer, Mark         3:16-cv-05660
     Scherrer, Wendy         3:19-cv-03569
     Schiltz, Barbara        3:19-cv-05048
    Schlink, Alexander       3:18-cv-06546
     Schlupp, Randy          3:20-cv-00525
Schoepper, Michael Eugene    3:19-cv-06706
   Schorzman, Deborah        3:20-cv-00013
      Schott, David          3:19-cv-06040
    Schroeder, Edward        3:17-cv-06773
    Schroeder, William       3:20-cv-00526
      Schrum, David          3:20-cv-00627
 Schuetz, Jerome Bernard     3:19-cv-03618
    Schumm, Thomas           3:19-cv-07870
    Schwartz, Timothy        3:19-cv-01775
       Scott, Floyd          3:19-cv-04020
      Scott, Russell         3:19-cv-04384
      Scott, Sherrie         3:19-cv-00296
    Scroggs, Barbara         3:19-cv-07095
     Scully, Timothy         3:19-cv-05109
     Seadler, Albert         3:19-cv-06191
      Seager, Peter          3:19-cv-08110
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  MDL Case Name          Current Cause #
    Sears, Todd           3:19-cv-01501
     Seitz, John          3:19-cv-04390
   Sellers, Peggy         3:19-cv-05047
   Sells, Robert L.       3:19-cv-06705
    Serna, Larry          3:19-cv-04383
  Servadio, William       3:20-cv-00418
  Seymour, Morgan         3:19-cv-05044
  Shackelford, Bob        3:20-cv-00243
   Shadeck, Betty         3:19-cv-05041
   Shaffer, Francis       3:19-cv-07198
 Shantzek, Deborah        3:19-cv-06409
   Sharp, Harry C.        3:19-cv-01519
    Sharp, Ricky          3:18-cv-02172
    Sharpe, Larry         3:19-cv-07869
    Shaw, Daniel          3:19-cv-05126
   Shaw, Russell          3:19-cv-06728
  Shechter, Leslie        3:17-cv-03208
  Sheehan, Earlynn        3:19-cv-01502
 Sheppard, Christine      3:16-cv-05650
Sherrill, James David     3:19-cv-06745
   Shible, Joseph         3:18-cv-02097
   Shields, Derwin        3:19-cv-06964
  Shields, Karen M.       3:19-cv-06708
Shields, Roger Darrell    3:20-cv-04206
     Shorr, Jack          3:18-cv-06491
     Short, Brian         3:20-cv-01766
     Short, Stan          3:19-cv-03389
    Shuey, Bruce          3:19-cv-07133
    Shuler, Helen         3:19-cv-04386
 Sidwell, Michael J.      3:20-cv-05772
   Sieger, Bertram        3:19-cv-07613
 Sievers, Rosemarie       3:19-cv-07794
   Sigwart, Claire        3:19-cv-07103
     Siler, Linda         3:20-cv-04203
    Sills, Patrick        3:19-cv-06264
    Silva, Christie       3:19-cv-05787
   Silver, Wanda          3:19-cv-07344
 Simmons, John R.         3:18-cv-04013
Simmons, Laurence &       3:19-cv-04847
     Susanne
  Simms, Gregory          3:19-cv-04733
   Simonetti, Paul        3:19-cv-06727
 Simpson, Suzanne         3:17-cv-04847
    Sims, Dustin          3:19-cv-06290
   Siniff, Diana L.       3:20-cv-00021
     Sinka, Tim           3:18-cv-06550
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      MDL Case Name             Current Cause #
       Sipich, Barbara           3:19-cv-06581
      Skillestad, Larry          3:17-cv-02174
      Skundrick, Phillip         3:18-cv-00223
       Slezak, James             3:19-cv-06442
       Slugg, Regina             3:19-cv-05039
       Smalls, Markis            3:20-cv-01832
       Smith III, Lewis          3:19-cv-05127
        Smith, Albert            3:19-cv-07143
    Smith, Fredrick, et al.      3:17-cv-02142
       Smith, Geoffrey           3:19-cv-04674
        Smith, Gloria            3:20-cv-00047
    Smith, Harrill Wayne         3:20-cv-00423
       Smith, Irene M.           3:19-cv-04164
       Smith, Joseph             3:19-cv-04843
       Smith, Joseph             3:19-cv-05037
       Smith, Kenneth            3:19-cv-04846
       Smith, Larry A.           3:18-cv-05312
     Smith, Margaret F.          3:19-cv-00651
       Smith, Michael            3:20-cv-00510
        Smith, Roy H.            3:19-cv-03597
       Smith, Timothy            3:19-cv-04734
       Smith, Wendy              3:20-cv-02635
      Smith, Wesley A.           3:19-cv-02363
         Snell, Glen             3:19-cv-04489
      Somach, Michael            3:19-cv-06048
     Somerlott, Richard          3:19-cv-01565
         Son, Jennie             3:19-cv-05032
   Sosby, Jeff and Tammy         3:19-cv-04897
        Soule, Bryan             3:19-cv-06437
         Soule, Lynn             3:19-cv-05031
   Souther, Davey Lamar          3:20-cv-01823
     Southerland, Willie         3:19-cv-06049
       Spain, Winfred            3:19-cv-05029
Spanbauer, Janelle and Ulises    3:19-cv-04840

 Spaulding, III, Reed Nelson     3:19-cv-05283
        Spires, Henry            3:19-cv-07140
       Springer, Irene           3:19-cv-05128
       Staber, Wilbur            3:19-cv-06819
       Stafford, Martin          3:19-cv-08269
    Stanford, Glenda G.          3:19-cv-06844
       Stanley, Roger            3:19-cv-04665
       Stansell, Clyde           3:19-cv-05028
       Stanton, James            3:19-cv-06820
      Staples, Sharon            3:19-cv-04495
      Stark, Jr., Donald         3:20-cv-02422
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   MDL Case Name           Current Cause #
     Stark, Robert          3:19-cv-04814
  Staton, William Brian     3:19-cv-06282
   Steadman, Robert         3:18-cv-06544
   Steen, Ronald W.         3:19-cv-06582
     Steinhart, Lori        3:20-cv-07890
   Stejskal, James D.       3:19-cv-07524
    Stellflug, Robert       3:19-cv-05025
    Stephens, Dave          3:19-cv-05129
Stephens, Janice Karen      3:19-cv-08119
     Sterling, David        3:18-cv-06549
   Stevenson, Ronnie        3:19-cv-05042
    Stewart, William        3:19-cv-00928
   Stockland, Wilbur        3:19-cv-06943
     Stohler, Floyd         3:19-cv-04380
      Stolz, Marcel         3:19-cv-07402
    Stolzberg, Mark         3:19-cv-04815
      Stone, John           3:19-cv-04492
     Storf, Ronald          3:20-cv-03834
    Storlie, Frances        3:19-cv-03785
     Stormes, Lacy          3:19-cv-06026
     Stratton, Gary         3:20-cv-00120
  Strayhorn, E. Bruce       3:19-cv-04118
   Strickland, Johnny       3:17-cv-03201
Stringer, John & Deborah    3:19-cv-04816
   Strunk, III, Herbert     3:18-cv-04796
      Stump, Ruth           3:18-cv-05319
     Stutes, Louise         3:17-cv-03203
       Styles, Sol          3:20-cv-00495
   Subers, Raymond          3:19-cv-00121
     Suding, James          3:17-cv-05717
     Sumlin, James          3:19-cv-06838
  Sundstrom, Norman         3:19-cv-05022
     Swan, Donald           3:19-cv-07728
    Swaney, John F.         3:19-cv-04680
  Swanson, Patricia A.      3:19-cv-02218
      Swartz, Jane          3:19-cv-04839
Swedlund, Robert Dean       3:19-cv-07403
    Swider, Thomas          3:19-cv-06711
      Swift, Phyllis        3:20-cv-03104
     Swift, Steven          3:20-cv-01545
  Swisher, Dorothy J.       3:18-cv-03180
  Taliaferro, David A.      3:20-cv-00836
  Tamburello, Michael       3:16-cv-06007
    Tanner, Carl B.         3:19-cv-06583
     Tanner, David          3:20-cv-03940
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      MDL Case Name                 Current Cause #
        Tanner, Frank                3:19-cv-04099
        Tanner, Johnny               3:19-cv-05020
         Tarte, Darrell              3:19-cv-05018
         Taylor, Cecil               3:19-cv-04735
       Taylor, Kenneth               3:19-cv-04493
    Taylor, Lawrence Lee             3:20-cv-03061
         Taylor, Linda               3:19-cv-07236
         Tegen, Corin                3:19-cv-07986
        Terry, Michael               3:19-cv-04853
         Terry, Phillip              3:19-cv-07203
        Terry, William               3:18-cv-03641
     Testaverde, Anthony             3:20-cv-06120
        Tevis, Michael               3:18-cv-03278
      Thackwray, Robert              3:19-cv-07004
      Tharrington, Walter            3:19-cv-06270
         Theriot, Judy               3:19-cv-00650
          Theys, Bill                3:19-cv-05017
     Thibodeaux, Sidney              3:19-cv-05337
       Thomas, Larry L.              3:19-cv-04114
      Thomas, Mike W.                3:19-cv-03017
   Thompson, Aurie Hazel             3:19-cv-05038
       Thompson, John                3:19-cv-05016
     Thornton, Frederick             3:19-cv-05130
    Thornton, Jon & Nancy            3:19-cv-04817
        Threet, Danny                3:19-cv-04777
        Tierney, Patrick             3:19-cv-01937
         Ting, Rosita                3:20-cv-00511
      Tingle, Jerry, et al.          3:18-cv-01518
         Tini, Danielle              3:19-cv-04013
    Tinnell, John Randolph           3:19-cv-05316
        Tinney, James                3:19-cv-07743
      Tio, Efren Moises              3:19-cv-07206
   Tomlinson, William Boyd           3:19-cv-01357
        Torres, Debra                3:18-cv-02940
         Torres, Efrain              3:19-cv-07615
   Torres, Ramiro Castillo           3:19-cv-04860
        Torres, Ramon                3:20-cv-00512
         Torvik, Scott               3:19-cv-07461
    Toyer, Joan Elizabeth            3:19-cv-06405
         Trimpe, Tina                3:16-cv-06032
      Trowbridge, Cheryl             3:19-cv-05013
       Troyano, Sherry               3:19-cv-07200
Trujillo, Benita & Castillo, Pete    3:19-cv-04832

       Tsakrios, Manuel              3:19-cv-01617
        Tucker, Delano               3:20-cv-00430
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    MDL Case Name            Current Cause #
      Tullius, Danny          3:20-cv-00005
  Tumenas, Lorraine M.        3:20-cv-04520
      Turner, Tonia           3:16-cv-06020
   Twitchell, Donald S.       3:19-cv-07342
       Ulrich, John           3:20-cv-05117
      Ulrich, Pamalla         3:19-cv-05312
      Ursin, Joseph           3:20-cv-05122
    Vacante, Samuel           3:19-cv-00119
     Vale-Lang, Lisa          3:19-cv-06027
      Valli, Jr., Abel        3:19-cv-06146
     Valverde, Emma           3:19-cv-07985
  Van Horn, Claire, et al.    3:17-cv-03207
  Van Hortman, George         3:19-cv-04497
     Van Meter, John          3:20-cv-00513
Van Oosten, James & Terri     3:19-cv-04899
  Van Steenberg, John         3:17-cv-04351
    Vanderlaan, Fred          3:19-cv-05131
  Vandervelde, Patricia       3:20-cv-00590
     Vandrovec, Neil          3:19-cv-06187
    Vazquez, Eduardo          3:19-cv-05008
       Vejil, Virginia        3:19-cv-04490
     Veloro, Percival         3:19-cv-05187
       Veloz, Frank           3:19-cv-04838
      Villella, William       3:19-cv-07204
    Vislocky, Peter E.        3:19-cv-06794
      Vitale, Yafreisi        3:19-cv-05308
     Vivance, Aristide        3:20-cv-02056
      Voorhis, Roger          3:20-cv-00498
       Votta, Reno            3:17-cv-05574
     Walker Jr., Litton       3:16-cv-06028
       Walker, Gary           3:19-cv-05132
     Walker, Michael          3:19-cv-04482
     Walker, Richard          3:19-cv-07205
 Walker, Robert Kenneth       3:20-cv-02399
     Walker, Wayne            3:19-cv-00120
         Wall, Jo             3:20-cv-00594
     Wallace, Lucille         3:19-cv-04441
     Walski, Gregory          3:19-cv-06712
     Walters, Perry L.        3:19-cv-03461
      Walton, Janet           3:19-cv-04818
     Wapner, Charles          3:19-cv-05314
       Ward, Adam             3:20-cv-03452
       Ward, Roger            3:17-cv-06495
      Warner, Marlin          3:19-cv-06060
     Warren, Patricia         3:20-cv-02421
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     MDL Case Name             Current Cause #
    Warren, Paul Daniel         3:19-cv-04778
       Warro, Ernest            3:20-cv-01269
     Waterfill, Jerry E.        3:20-cv-05123
     Watson, Barbara            3:19-cv-04627
      Watson, Patrick           3:19-cv-00994
       Watts, George            3:19-cv-06292
        Watts, Terry            3:20-cv-00514
      Weathers, Cindy           3:19-cv-05335
Weaver, Ruth Ann Amanda         3:19-cv-04779
        Webb, Brian             3:20-cv-05624
    Webb, David & Ellen         3:19-cv-04819
        Webb, Mark              3:19-cv-03379
      Webber, David             3:20-cv-00515
   Webber, Jr., Robert S.       3:20-cv-01954
       Weddel, Mark             3:17-cv-00783
Weightman III, Richard Byron    3:19-cv-08111

  Welker, Marian & Roger        3:19-cv-04820
     Welsh, Randy M.            3:20-cv-02428
     Wernsing, Lyndell          3:19-cv-04669
        West, Tracy             3:20-cv-00516
      Whaley, Peggy             3:19-cv-01564
       White, David             3:19-cv-03576
       White, Donald            3:19-cv-50110
       White, Izetta            3:18-cv-04799
       White, Jarvis            3:17-cv-07310
       White, Randel            3:17-cv-04846
       White, William           3:16-cv-06026
     Whitehair, Michael         3:19-cv-07678
   Whitehouse, Sidney E.        3:19-cv-05964
      Whitley, Lucinda          3:19-cv-05003
      Whitlock, Doris           3:18-cv-01152
       Wible, Dennis            3:19-cv-05657
     Wiley, Lisa, et al.        3:18-cv-06560
       Wiley, Stanley           3:19-cv-02827
      Wilhelm, Loren            3:19-cv-04995
     Wilkinson, Dwight          3:19-cv-00491
       Willets, Linda           3:19-cv-07742
     Williams, Abraham          3:19-cv-04503
     Williams, Carmen           3:19-cv-05950
     Williams, Charles          3:19-cv-06714
      Williams, Lloyd           3:19-cv-07592
       Williams, Mary           3:20-cv-00517
    Williams, Mitchell R.       3:19-cv-04784
      Williams, Wilma           3:17-cv-07220
        Willis, Barry           3:19-cv-04992
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     MDL Case Name            Current Cause #
     Willis, Judith Ann        3:19-cv-06826
    Wilson, Chirvalarie        3:18-cv-01107
      Wilson, Isaiah           3:18-cv-03556
        Wilson, Neil           3:16-cv-07369
     Wimberley, Keith          3:17-cv-03224
   Winch, Jr., Michael D.      3:19-cv-05958
    Winfrey, Shelley K.       3:19-CV-05344
      Wing, Kenneth            3:19-cv-06278
      Wingler, Darcy           3:19-cv-06262
       Wirtjes, Emily          3:19-cv-07340
    Wittkamper, Duane          3:19-cv-07391
      Wojno, Nancy             3:20-cv-00066
       Wolfe, Wade             3:19-cv-06955
      Wollfarth, Mark          3:19-cv-03599
      Wood, Donald             3:18-cv-03576
       Wood, Laurie            3:20-cv-00424
    Woodcock, Gregory          3:19-cv-07793
   Woodruff, Richard D.        3:19-cv-05883
Woods-Smithhart, Patricia &    3:19-cv-05034
   Smithhart, Claude
   Wooten, Bobby Joe           3:19-cv-04786
      Wooten, Harley           3:17-cv-01735
       Work, James             3:16-cv-06005
        Worth, Billy           3:18-cv-02906
    Wotitzky, Hal Frank        3:19-cv-05336
       Wright, Edwin           3:19-cv-07355
    Wright, Judy Elaine        3:19-cv-04736
     Wright, Lawrence          3:19-cv-07876
        Yagy, Mary             3:19-cv-05045
 Yamauchi, Jr., James T.       3:20-cv-04951
       Yetter, Glenn           3:19-cv-06584
        Yobs, Ruth             3:19-cv-03971
      Young, Anthony           3:20-cv-00518
    Young, Sarah Mae           3:18-cv-05209
      Young, Wendall           3:19-cv-04460
    Younker, Sr., Blair        3:19-cv-06718
     Yuspeh, Michael           3:20-cv-05124
      Zampa, Ralph             3:19-cv-06263
       Zaritsky, Rael          3:19-cv-04857
       Zech, Michael           3:19-cv-03578
      Zeman, Herbert           3:19-cv-05050
      Zielinski, David         3:20-cv-04521
      Zilmer, Donald           3:17-cv-05739
       Zoller, Sherri          3:17-cv-03228
        Zupan, Ben             3:19-cv-05111
      Zupan, Thomas            3:19-cv-04985
